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F#2009ROOS18                                                        '.,,.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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                                         FILED UNDER SEAL
UNITED STATES OF AMERICA                 COM P L A I N T

      - against -                        (18 U.S.C.   §   2320)

HENRI AL HALABI,
     also known as "Isaac,JI

                Defendant.

                               - -X

EASTERN DISTRICT OF NEW YORK, SS:

           GEORGE R. KELLER, being duly sworn, deposes and states

that he is a Special Agent with the Federal Bureau of

Investigation ("FBI"), duly appointed according to law and acting

as such.

           Upon information and belief, in or about and between

May 2009 and January 2010, both dates being approximate and

inclusive, within the Eastern District of New York and elsewhere,

the defendant HENRI AL HALABI, also known as "Isaac," together

with others, did knowingly and intentionally traffic in goods and

knowingly used a counterfeit mark on or in connection with such

goods.

           (Title 18, united States Code, Section 2320)
             The source of your deponent's information and the

grounds for his belief are as follows: 1/

             1.      I have been a Special Agent with the FBI for

almost two years.        Prior to joining the FBI, I worked as a New

York City Police Department ("NYPD") patrolman and sergeant for

approximately 10 years.        During my tenure with the FBI and NYPD,

I have participated in numerous counterfeit clothing

investigations, among others, during the course of which I have

(a) conducted surveillance of individuals engaged in counterfeit

clothing trafficking and money laundering;       (b) executed search

warrants at locations where counterfeit clothing, illegal

proceeds and records of counterfeit clothing and money laundering

transactions have been found;       (c) reviewed and analyzed numerous

taped conversations and records; and (d) debriefed cooperating

witnesses.        In particular, during my tenure with NYPD, I

participated in numerous counterfeit merchandise investigations

and in fact was specially trained for such investigations.          My

information in this case comes from a review of records, meetings

with other law enforcement officers, including members of the

NYPD, and my direct participation in the investigation.




     1/   Because the purpose of this Complaint is to state only
probable cause to arrest, I have not described all the relevant
facts and circumstances of which I am aware.

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          Evidence Gathered Through a Cooperating Witness

               2.     In or about mid-2009, law enforcement officers

arrested an individual (hereinafter "CW") who later pled guilty,

pursuant to a cooperation agreement, to trafficking in

counterfeit clothing, in violation of 18 U.S.C.         §   2320.    As part

of CW's cooperation, CW attended several meetings with law

enforcement, during which time CW provided information that was

later corroborated by independent evidence.

           3.         Notably, prior to CW's arrest, law enforcement

agents seized a large amount of counterfeit clothing.               During

meeting with law enforcement, CW stated, in sum and in substance,

that some of the counterfeit clothing seized was obtained from an

individual known as "Isaac."         CW further stated, in sum and in

substance, that "Isaac" was a regular supplier of counterfeit

clothing and that "Isaac" knew he was selling counterfeit

clothing. 1/        CW also provided several telephone numbers for

"Isaac" and provided the address, as well as a description, of

the location where "Isaac" worked.

           4.         Based on bank records discussed below, agents were

able to obtain of photograph of an individual who they believed

could be "Isaac."         In late 2009, agents showed that photograph to



1/   This statement        that HENRI AL HALABI, also known as "Isaac,"
knew he was selling        counterfeit clothing is corroborated by,
among other things,        a recorded conversation from a meeting
between him and CW,        as discussed below.

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CW and CW identified the individual in that photograph as

"Isaac. "ll    Thus, agents learned that "Isaac's" true identity was

HENRI AL HALABI.

              5.   CW stated, in sum and in substance, that he/she

often dealt with "Isaac" for the purchase of counterfeit

clothing.      A recorded telephone call, at the direction of FBI

agents, by CW to "Isaac" confirmed that information.      During the

recorded call, HENRI AL HALABI, also known as "Isaac," spoke with

CW about clothing transactions and did so in a manner that

indicated that he was very familiar with CWo

              6.   Within the past several months, at the direction

of FBI agents, CW met with HENRI AL HALABI, also known as

"Isaac," to discuss a debt owed by CW to AL HALABI arising out of

a past counterfeit clothing transaction.      This meeting was

observed by an FBI agent.      In addition, the meeting was recorded

with a device in CW's possession that was provided by FBI agents.

At the meeting, CW told AL HALABI, in sum and in substance, that

clothing provided by him had been seized by police and CW wanted

to purchase additional clothing from him.     AL HALABI responded,

in sum and in substance, that he did not have clothing available



II   During meetings with agents, CW    provided information about
approximately 15 individuals alleged    to be involved in the
trafficking of counterfeit clothing.     Thus, presenting CW with
just one photograph, as opposed to a    photographic array, did not
suggest to CW the agents' beliefs as    to who was depicted in that
photograph.

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at present but was expecting to obtain additional clothing at a

later date.    In explaining why he presently did not have

clothing, AL HALABI commiserated with CW, stating, in sum and in

substance, that he too had clothing seized by police.     Thus, AL

HALABI corroborated CW's information that AL HALABI was aware

that he was selling counterfeit clothing.

               Evidence Gathered Through Bank Records

          7.     Further evidence that HENRI AL HALABI, also known

as "Isaac," is knowingly trafficking in counterfeit goods is

found in bank records for an account to which he is the sole

signatory and that he regularly uses.     The account is in the name

of "Zoom Denim," though that purported business does not appear

to have a physical location, and it is not the name of the

clothing establishment at which AL HALABI    works.~1

          8.    Based on my training and experience, I know that

counterfeit traffickers amass large amounts of cash proceeds from

the sale of counterfeit goods in the United States.     The

traffickers, or those associated with the traffickers, frequently

attempt to give the impression of legitimacy to these profits;

i.e., to "launder" them by making the profits appear to have been

generated by a legitimate source.     The traffickers must also

devise various methods to remit those proceeds to suppliers of



~I   The bank account lists AL HALABI's home address as the
purported location of the business.

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counterfeit goods, without alerting governmental or law

enforcement agencies.        In order to accomplish this goal,

traffickers frequently utilize banks and financial institutions

in order both to make their counterfeiting profits appear to be

from legitimate sources and to move those profits through the

financial system to higher level members of the counterfeiting

organization.      These efforts frequently utilize third-party

individuals that purport to have legitimate earnings, but which

in actuality have little or no such sources of income.

              9.   Based on my training and experience, I know that

the first step in laundering or transporting proceeds from the

sales of counterfeit goods is to deposit them in a bank or

financial institution.        Once the proceeds are in a financial

institution, they are more easily laundered and transported.

However, the Currency and Foreign Transactions Reporting Act, 31

U.S.C.   §   5313, et   ~,    also known as the Bank Secrecy Act, is

designed to combat this type of money laundering, in part by

imposing reporting requirements on virtually all transactions

involving more than $10,000 in United States currency.

Specifically, 31 U.S.C. § 5313(a) and its related regulations

provide that when a domestic financial institution, inclUding

banks and money service businesses, is involved in a transaction

for the payment, receipt, or transfer of U.S. currency in an

amount greater than $10,000, the institution shall file a


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currency transaction report ("CTR")   for each cash transaction,

such as, by way of example, a deposit, withdrawal, exchange of

currency or other payment or transfer by, through or to a

financial institution.   CTRs are filed with the Financial Crimes

Enforcement Network at the Detroit Data Center on forms that

require disclosure of, among other information, the identity of

the individual who conducted the transaction and the individual

or organization for whom the transaction was completed.     These

regulations also require that multiple transactions be treated as

a single transaction if the financial institution has knowledge

that they are conducted by, or on behalf of, the same person, and

they result in currency either received or disbursed by the

financial institution totaling more than $10,000 during any

single business day.

          10.   Based on my training and experience, I know that

many individuals involved in illegal activities, such as

counterfeit trafficking and money laundering, are aware of the

reporting requirements and take active steps to cause financial

institutions to fail to file CTRs in order to avoid detection of

the movement of large amounts of cash.   These active steps are

often referred to as "structuring" and involve making multiple

cash deposits or withdrawals in amounts less than $10,000 on the

same day or consecutive days in order to avoid the filing of




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CTRs.   Such structuring activity, which itself is    illegal,~/   can

frequently occur with deposits made into the same bank account at

multiple branch locations, at the direction of the counterfeit

trafficker or other launderer of illicit funds,     in order to avoid

the aggregation of large amounts of cash proceeds at a central

location.     Sometimes these deposits are followed by corresponding

payments made by check, ATM withdrawls, or electronic funds

transfers.     In these circumstances, the bank account serves as a

"pass-through" designed to facilitate the laundering and

transmission of illegal proceeds back to counterfeiters in order

to avoid detection by law enforcement authorities.      Based upon my

training and experience, the use of a "pass-through" account in

this fashion is consistent with the transmission and laundering

of counterfeiting proceeds.

             11.   According to records for that Zoom Denim bank

account controlled by HENRI AL HALABI, from March 20, 2009 to

December 15, 2009, roughly thirty-eight structured currency

deposits were made into the account totaling approximately



~/   Structuring is prohibited by 31 U.S.C. § 5324(a) (3).
Specifically, pursuant to 31 U.S.C. § 5324, it is a crime for an
individual to (a) "cause or attempt to cause a domestic financial
institution to fail to file a report required under § 5313(a),"
(b) "cause or attempt to cause a domestic financial institution
to file a report required under § 5313(a) that contains a
material omission or misstatement of fact," or (c) "structure or
assist in structuring, any transaction with one or more domestic
financial institutions" for the purpose of evading the reporting
requirements of 31 U.S.C. § 5313(a)

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$177,992.00.   None of the individual deposits exceeded $10,000,

and many of the deposits were around $8,000 or were made on

consecutive days.      For example, beginning on September 8, 2009

through and including October 29, 2009, twenty-two individual

cash deposits, totaling $108,774.00 in the aggregate, were made

into the bank account.      The chart below sets forth the dates and

amounts of the cash deposits during this period.       In addition, on

or about September 8, 2009, September 9, 2009, October 5, 2009,

October 9, 2009, and October 24 through 26, 2009, multiple

deposits were made on the same banking day each in amounts of

less than $10,000.00, but which exceeded $10,000.00 in the

aggregate, which triggered the filing of "multiple transaction"

CTRs by the bank. fl    The dates of those deposits are reflected

with an asterisk (*).

                    Date of Deposit Amount Depositec
                       9/08/2009*        $3,000.00
                       9/08/2009*        $8,800.00

                       9/09/2009*        $4,000.00
                       9/09/2009*        $8,000.00
                       9/09/2009*        $1,836.00

                       10/01/2009        $3 000.00
                       10/02/2009        $3 000.00

                       10/05/2009*       $4,410.00
                       10/05/2009*       $2,000.00



§/   A "multiple transaction" CTR is typically filed by a
financial institution without the customer's knowledge when the
customer conducts more than one cash deposit or withdrawal
transaction on the same banking day and the aggregate of such
deposits or withdrawals exceeds the amount of $10,000.

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                 Date of Deposit Amount Deposi tee
                   10/05/2009*        $8,500.00

                   10/08/2009         $3 528.00

                   10 09/2009*        $8,000.00
                   10 09/2009*        $2,000.00
                   10 09/2009*        $4,600.00

                   10/12/2009         $5,000.00
                   10/16/2009         $8,000.00
                   10/20/2009         $8,000.00
                   10/22/2009         $2,000.00

                   10/24/2009*        $6,000.00
                   10/26/2009*        $2,000.00
                   10/26/2009*        $5,000.00

                   10/29/2009         $8 100.00

Thus, based on my experience, training and knowledge of this

investigation, I believe that HENRI AL HALABI, also known as

"Isaac," utilizes an account in which money is deposited in a way

that is meant to conceal its movement because that money is the

proceeds of illegal activity and he is trying to conceal his

involvement in that illegal activity.

          12.   Furthermore, account records show that the account

is being used as a "pass-through" account - in other words, large

amounts of money are quickly deposited into the account and just

as quickly withdrawn or moved to other accounts.     For example, in

the short span between September and November 2009, approximately

$2 million was deposited into the account and approximately $2

million left the account.   However, the highest balance in the

account at anyone time was only approximately $350,000.00.      In

addition, a recent Dun & Bradstreet report estimates that Zoom


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Denim has annual sales of $170,000, which low number is

inconsistent with the high amount of money passing through that

bank account.   Thus, based on my experience, training and

knowledge of this investigation, I believe that HENRI AL HALABI,

also known as "Isaac," utilizes an account through which money is

moved quickly because that money is the proceeds of illegal

activity and, as such, needs to be moved quickly to avoid both

arousing suspicion and seizure by law enforcement.

          WHEREFORE, your deponent respectfully requests that the

defendant HENRI AL HALABI, also known as "Isaac," be dealt with

according to law.

                                       ~7~c::..---
                                   ~E R. KELLER
                                       Special Agent,
                                       Federal Bureau of Investigation

Sworn to before me this
     Day of January, 2010


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                      .TE JUDGE
                      M YORK




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